19-23649-rdd       Doc 292       Filed 10/11/19       Entered 10/11/19 10:03:54               Main Document
                                                     Pg 1 of 8


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                                  Chapter 11
 PURDUE PHARMA L.P., et al.,                                             Case No. 19-23649 (RDD)
                                    Debtors.1                            (Jointly Administered)
 PURDUE PHARMA L.P., et al.,
                                    Plaintiffs,                          Adv. Pro. No. 19-08289 (RDD)
 v.
 COMMONWEALTH OF MASSACHUSETTS, et al.,
                                    Defendants.


OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ STATEMENT IN SUPPORT
  OF DEBTORS’ MOTION FOR A PRELIMINARY INJUNCTION PURSUANT TO
       11 U.S.C. § 105(A) AND STATEMENT IN SUPPORT OF COMPLAINT
                            FOR INJUNCTIVE RELIEF

          1
            The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the
 applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue
 Transdermal Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P.
 (0034), Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150),
 Seven Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health
 L.P. (4140), Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove
 Lifescience Inc. (7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick
 Land L.P. (7584), Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF L.P. (0495), SVC
 Pharma L.P. (5717) and SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One
 Stamford Forum, 201 Tresser Boulevard, Stamford, CT 06901.
19-23649-rdd        Doc 292       Filed 10/11/19        Entered 10/11/19 10:03:54                Main Document
                                                       Pg 2 of 8


        The Official Committee of Unsecured Creditors (the “Committee”) by and through its

undersigned proposed counsel, hereby submits this statement in support of the Debtors’ Motion

for a Preliminary Injunction Pursuant to 11 U.S.C. § 105(a), Sept. 18, 2019 [ECF No. 2] (the

“Motion”) and Debtors’ Memorandum of Law in Support of Motion for a Preliminary

Injunction, Sept. 18, 2019 [ECF No. 3] (the “Debtors’ Brief”) and statement in support of the

Debtors’ Complaint for Injunctive Relief, Sept. 18, 2019 [ECF No. 1] (the “Complaint”)

pursuant to which Debtors seek to enjoin certain actions pending against the Debtors and Related

Parties outside of these Bankruptcy Cases (the “Active Matters”).2

                                             DISCUSSION

        1.        The Committee supports entry of a limited, six month injunction of the Active

Matters, as further described below, and in the Case Stipulation Among the Debtors, the

Committee and Certain Related Parties also filed today (the “Stipulation”).3

        2.        Critically, the injunction supported by the Committee is temporary. The

Committee fully expects that the Debtors and the Related Parties will use the provisional

“breathing spell” they seek to work diligently and cooperatively with the Committee and other

parties in interest towards a just chapter 11 plan in these cases. Among other things, any hint that

the Related Parties are using the injunction to evade disclosures they would likely be required to




          2
            The Debtors seek to enjoin (i) more than 2,200 lawsuits brought by governmental entities that are
 identified in the Complaint, as well as (ii) lawsuits against “Related Parties,” defined by the Debtors to include
 certain former or current (a) owners (including any trusts and their respective trustees and beneficiaries), (b)
 directors, (c) officers, (d) employees, and (e) associated entities of the Debtors that were or could have been
 commenced before the commencement of the case. The Related Parties include members of the Sackler family
 (“Sacklers”) who directly or indirectly own all of the equity of, and who at least until recently controlled, the
 Debtors. While the Committee is not in a position at this early stage of these cases to agree (or disagree) with all
 of the factual contentions and characterizations contained in the Debtors’ brief, the Committee concurs that an
 injunction is warranted.
          3
            Capitalized terms used but not defined herein have the meanings ascribed to them in the Debtors’ Brief
 and the Stipulation.

                                                          1
19-23649-rdd     Doc 292     Filed 10/11/19     Entered 10/11/19 10:03:54          Main Document
                                               Pg 3 of 8


make outside of these cases (or are now required to make pursuant to the Stipulation) will be

considered by the Committee as evidence of bad faith.

       3.      Moreover, and of equal importance, the Committee’s support for the temporary

injunction should not be confused with support for the settlement term sheet (“Summary Term

Sheet”) filed by the Debtors on October 8, 2019. For one thing, the Committee has had access to

the Summary Term Sheet for less than 72 hours—a period which included Yom Kippur—and the

Summary Term Sheet, as its title suggests, does not include a comprehensive description of the

contemplated compromise. More fundamentally, it is far too early in these cases for the

Committee (and presumably other parties in interest) to make an informed judgment about the

right plan for these cases, particular in light of the very limited information to which they

currently have access.

       4.      In fact, the Committee supports the injunction in significant part so that the

Debtors and Related Parties will not be distracted from what should be their primary focus:

producing detailed and voluminous information to the Committee and others in these cases so all

parties in interest can participate meaningfully in reorganization efforts. With that objective in

mind, the Stipulation calls for the Debtors and Certain Related Parties (as referenced in the

Stipulation) to begin their productions without delay. See id. ¶¶ 7, 17. The Debtors have agreed

to provide information the Committee reasonably requests relating to these cases, including,

without limitation, certain categories of documents identified in the Stipulation. See id. ¶ 7. We

expect the Debtors will make these and other requested materials available to the Committee

promptly and on a rolling basis.

       5.      For their part, Certain Related Parties have agreed to provide certain categories of

information identified in the Stipulation (the “Related Party Initial Disclosures”) on the time



                                                  2
19-23649-rdd     Doc 292      Filed 10/11/19    Entered 10/11/19 10:03:54            Main Document
                                               Pg 4 of 8


table set forth in the Stipulation, and will seek in good faith to complete the Related Party Initial

Disclosures within 90 days of the date the injunction is entered. The Committee has the right to

seek information from Related Parties in addition to the Related Party Initial Disclosures, but has

agreed that it will not serve formal discovery, whether by Rule 2004 of the Federal Rules of

Bankruptcy Period or otherwise, for the first 90 days of the stay.

       6.      The Related Parties have indicated that they need a period of peace to engage

fully in these cases, and have represented that they plan to do so in good faith, including with

respect to information disclosure. The Stipulation gives the Related Parties a 90 day opportunity

to back up their words with actions, and reserves to the Committee the coercive discovery

methods available under the bankruptcy code and rules as may be necessary or appropriate. Of

course, these provisions would be of little value if the Related Parties could use the stay as an

opportunity to move assets outside (or further outside) of the reach of the estates, its creditors,

and this Court. Accordingly, the Committee and the Debtors negotiated a detailed section of the

stipulation designed to ensure that the Related Parties do not engage in secretion of assets while

the stay endures, as well as for a period of 30 days thereafter. See id. ¶¶ 13-16.

       7.      During the October 10, 2019 hearing, the Court suggested that the parties focus in

the near term not only on maximizing estate assets, but also on a sensible plan for allocating

those assets in a manner that addresses the national opioid crisis more generally, in addition to

the specific claims of creditors in these cases. Under the Stipulation the Debtors and the

Committee agree to seek consensus among the parties in interest to these cases to create an

Emergency Fund of $200 million to provide relief to victims of the Opioid crisis during the first

six months of these cases. The Debtors also have agreed to consider in good faith a number of

potential uses for those funds proposed by the Committee and identified on Exhibit A to the



                                                  3
19-23649-rdd        Doc 292       Filed 10/11/19        Entered 10/11/19 10:03:54                Main Document
                                                       Pg 5 of 8


Stipulation. Id. ¶ 11 & Ex. A. The Stipulation also requires the Debtors to promptly commence

and thereafter work during the Stay Period with the Committee on issues with respect to claims

allowance, categorization and classification, including with respect to methods of allowance,

distribution and allocation. Id. ¶ 9.4 The Debtors and the Committee have agreed to work with a

broad array of governmental and non-governmental claimants to attempt to resolve disputes

regarding intercreditor issues expeditiously and minimize, to the extent possible, litigation and

claims disputes. Id.

        8.       The allocation issue also highlights another key reason for the Committee’s

support of the temporary injunction: the need to treat all creditors equitably. Like the entities

opposing the Motion for an injunction (the “Opposing Entities”), the Committee believes that the

Debtors and the Related Parties are among the parties responsible for the devastation wrought by

the opioid crisis, legally, financially and morally. Unlike the Opposing Entities, however, the

Committee represents and seeks to safeguard the interests of all unsecured creditors. That group

includes the Opposing Entities, but also includes trade creditors, hospitals, insurance premium

payors, individual personal injury plaintiffs, Neonatal Abstinence Syndrome victims, tribes, third

party payors and many other persons and entities.5 Each of these creditors’ claims on the

Debtors’ assets are of equal priority, and none should gain an advantage by pursuing extra-

bankruptcy litigation while other creditors are forced to watch from the sidelines.




          4
            Other significant aspects of the Stipulation include (i) the Debtors’ agreement not to file a chapter 11
 plan or seek approval of any settlement or restructuring term sheet, and (ii) the Committee’s agreement not to
 move for derivative standing to assert estate causes of action and support for the Debtors’ retention of exclusivity,
 in each case during the six month Initial Stay Period. Id. ¶¶ 3-6.
          5
            The injunction sought by the Debtors would halt claims brought by many types of plaintiffs whose
 interests are represented by the Committee, not just those of the Opposing Entities. Indeed, the Debtors’
 Complaint seeks to enjoin claims brought by Committee members themselves. E.g. Complaint, Ex. B, at entries
 448, 535, and Ex. C, at entries 2588, 2623.

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19-23649-rdd       Doc 292       Filed 10/11/19       Entered 10/11/19 10:03:54               Main Document
                                                     Pg 6 of 8


        9.       Certain Opposing Entities argue that continuing the Active Matters will actually

benefit the estates because the Opposing Entities will be able to gather information through

discovery in courts and cases outside of this bankruptcy, and may establish liability on the part of

the Related Parties after trial.6 But this Court can require the same disclosures by the Debtors

and the Related Parties, and can do so in a centralized manner, while providing all parties in

interest simultaneous access to those materials.

        10.      In addition, as the Opposing Entities no doubt realize, continuing the Active

Matters might also result in payments to the Opposing Entities from the Related Parties based on

settlements or judgments with or from the Related Parties. Notably, none of the Opposing

Entities have so far offered to channel any proceeds they may receive in connection with the

Active Matters to the estates to be shared among all creditors. As a result, the Committee

believes that if the states were to go forward with the litigation against the Related Parties, they

would take all the value received from any such litigation for themselves—or might at best agree

to share their proceeds with other states. But that would violate both the letter and spirit of the

bankruptcy code by preferring one category of unsecured creditor over all others. And

significantly, there is no assurance that proceeds received by the states would be used to abate

the opioid crisis, or aid its victims. Such an outcome would be antithetical not only to

fundamental bankruptcy principles, but also to the objectives for which the governmental units

have advocated since their involvement in the opioid litigation began.

        11.      Continuing the Related Party actions would also consume resources that should

be distributed equitably among creditors. The estates’ claims against the Related Parties are




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           See, e.g., The States’ Coordinated Opposition to Debtors’ Motion for Preliminary Injunction of State
 Enforcement Actions against Purdue, Oct. 4, 2019 [ECF No. 42], at 12.

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19-23649-rdd     Doc 292      Filed 10/11/19    Entered 10/11/19 10:03:54          Main Document
                                               Pg 7 of 8


immense. For instance, the Sacklers’ fraudulent conveyance liability alone could be in the

billions of dollars—before interest—and breach of fiduciary duty, unjust enrichment and other

claims could increase that liability by additional billions. To be just, any plan in these cases will

require enormous payments from the Related Parties. Indeed, the associated liability could well

exceed even the Sacklers’ vast reported wealth. It is therefore imperative that assets currently in

the possession of the Related Parties be available for return to the estates (and eventual

distribution among all creditors pursuant to the bankruptcy code), not turned over piecemeal to

whichever creditors happen to arrive first at the courthouse. See, e.g., The Lautenberg Found. v.

Irving H. Picard (In re Bernard L. Madoff Inv. Sec. LLC), 512 F. App’x 18 (2d Cir. 2013).

       12.     In Lautenberg, the Second Circuit affirmed an order enjoining litigation against

Madoff employees and relatives, observing that “every asset (or the vast majority thereof)”

subject to the enjoined actions also was “claimed by the [Securities Investor Protection Act

(“SIPA”)] Trustee as a fraudulent transfer from” the Madoff estate. Id. at *20. Hence, if

allowed to continue, the actions would have an “immediate adverse economic consequence for

the debtor’s estate … inasmuch as, if successful, they would draw down assets almost all of

which could otherwise be expected to return to the [] estate.” Id. at *21. Moreover, without the

injunction, “there would ensue a chaotic rush to the courthouse—or rather, multiple

courthouses—of those seeking assets that the trustee claims are properly part of the [] estate.”

Id. at *20 (citing Queenie, Ltd. v. Nygard Int’l, 321 F.3d 282, 287 (2d Cir. 2003)); see also In re

Caesars Entm’t Operating Co., Inc., 808 F.3d 1186, 1189 (7th Cir. 2015) (holding that Section

105(a) injunction is authorized where non-debtor defendants are likely source of funds for

reorganization; to the extent suits proceed and are successful, “there will be that much less

money for the [debtor’s] creditors to recover in the bankruptcy proceeding”). The same



                                                  6
19-23649-rdd     Doc 292     Filed 10/11/19    Entered 10/11/19 10:03:54        Main Document
                                              Pg 8 of 8


considerations militate in favor of a temporary stay of the Active Matters against the Related

Parties in these cases.

                                        CONCLUSION

         Accordingly, for the reasons set forth above in this statement, the Committee supports

 the Debtors’ request for an injunction staying the Governmental Actions and Related Party

 Claims to the extent not covered by the automatic stay, as modified by the Stipulation.

 New York, New York                    AKIN GUMP STRAUSS HAUER & FELD LLP
 Dated: October 11, 2019
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